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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                       x
                                                       :
IN RE NINE WEST LBO SECURITIES                         : Case No.: 1:20-md-02941-JSR
LITIGATION                                             :
                                                       : NOTICE OF MOTION
Pertains to All Associated Actions                     :
                                                       :
                                                       x
       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, dated June

29, 2020, and the Declaration of Andrew G. Devore dated June 29, 2020 and the exhibits thereto,

the defendants as identified in the signature pages to this Notice of Motion will move this Court,

before the Honorable Jed S. Rakoff, United States District Judge, at the Daniel Patrick Moynihan

United States Courthouse, 500 Pearl Street, New York, NY 10007, on August 13, 2020 at 10:00

a.m., or at such date and time as the Court determines, for an order dismissing with prejudice the

complaints filed against them in the above-captioned actions by Plaintiffs Marc S. Kirschner, as

Trustee for the NWHI Litigation Trust, and Wilmington Savings Fund, FSB, as successor

indenture trustee for the 6.875% Senior Notes due 2019, the 8.25% Senior Notes due 2019, and

the 6.125% Senior Notes due 2034 of Nine West Holdings, Inc., pursuant to Federal Rule of Civil

Procedure 12(b)(6) and the safe harbor set forth in 11 U.S.C. § 546(e), and granting such other and

further relief as the Court deems appropriate.



                             [remainder of page intentionally blank]
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Dated: June 29, 2020

Respectfully submitted,

/s/ Gregg L. Weiner
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Adam M. Harris
Christian Reigstad
Ani-Rae Lovell
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Liaison Counsel for Public Shareholder Defendants

Counsel for Defendants identified as Allianz
Global Investors of America LP; Blackrock MSCI
USA Small Cap Equity Index Fund; Brighthouse
Funds Trust II f/k/a Brighthouse Funds Trust Met-
Series; Columbia Management Investment
Advisers LLC; Columbia Multimanager
Alternative Strategies Fund; Diversified Alpha
Group Trust; DWS Investment Management
Americas, Inc. f/k/a Deutsche Asset Management;
DWS Small Cap Index VIP; Extended Equity
Market Fund a/k/a Blackrock Institutional Trust
Company, N.A. Extended Equity Market Fund;
Extended Equity Market Master Fund B; FIAM
LLC a/k/a Fidelity Institutional Asset Management
f/k/a Pyramis Global Advisors; Fidelity Asset
Allocation Currency Neutral Private Pool; Fidelity
Asset Allocation Private Pool; Fidelity Balanced
Currency Neutral Private Pool; Fidelity Balanced
Income Currency Neutral Private Pool; Fidelity
Balanced Income Private Pool; Fidelity Balanced
Private Pool; Fidelity Concord Street Trust -
Fidelity Extended Market Index Fund; Fidelity
Concord Street Trust - Fidelity Total Market Index
Fund; Fidelity Income Allocation Fund f/k/a
Fidelity Monthly High Income Fund; Fidelity
Investments; Fidelity Investments Charitable Gift
Fund; Fidelity Monthly Income Fund; Fidelity
Northstar Fund; Fidelity Small Cap Index Fund;

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Fidelity Total Market Index Fund; FlexShares
Morningstar US Market Factor Tilt Index Fund;
Geode Diversified Fund, a Segregated Account of
Geode Capital Master Fund Ltd. f/k/a GDF1,a
Segregated Account of Geode Capital Master Fund
Ltd.; iShares Europe; iShares Morningstar Small-
Cap Value ETF; iShares MSCI USA Small Cap
UCITS ETF; iShares Russell 2000 ETF; iShares
Russell 2000 Value ETF; iShares Russell 3000
ETF; JNL/DFA U.S. Small Cap Fund c/o Jackson
National Asset Management LLC; Master Small
Cap Index Series of Quantitative Master Series
LLC a/k/a iShares Russell 2000; MSCI U.S. IMI
Index Fund B2 a/k/a Blackrock MSCI U.S. IMI
Index Fund B2; Northern Small Cap Core Fund;
Northern Small Cap Value Fund; Northern Small
Cap Index Fund; Oppenheimer Global Multi
Strategies Fund; Pacific Select Fund – PD Small-
Cap Value Index Portfolio; Pacific Select Fund –
Small-Cap Equity Portfolio; Pacific Select Fund –
Small-Cap Index Portfolio; Pentwater Capital
Management LP; Principal Funds, Inc. (Global
Multi-Strategy Fund); Principal Funds, Inc.
(SmallCap Value Fund II); Principal Variable
Contracts Funds, Inc. (SmallCap Value Account I);
ProShares Trust (ProShares Merger ETF); Russell
2000 Alpha Tilts Fund B; Russell 2000 Index
Fund; Russell 2000 Index Non-Lendable Fund
a/k/a Blackrock Russell 2000 Index Non-Lendable
Fund; Russell 2000 Value Fund B; Russell 2500
Index Fund a/k/a iShares Russell Small/Mid-Cap
Index Fund; Russell 3000 Index Fund a/k/a
iShares Total U.S. Stock Market Index Fund;
Russell 3000 Index Non-Lendable Fund; U.S.
Equity Market Fund; U.S. Equity Market Fund B;
Vanguard Index Funds (Vanguard Extended
Market Index Fund); Vanguard Index Funds
(Vanguard Small-Cap Index Fund); Vanguard
Index Funds (Vanguard Small-Cap Value Index
Fund); Vanguard Index Funds (Vanguard Total
Stock Market Index Fund); Vanguard Institutional
Index Funds (Vanguard Institutional Total Stock
Market Index Fund); Vanguard Institutional Total
Stock Market Index Trust; Vanguard International
Equity Index Funds (Vanguard Total World Stock
Index Fund); Vanguard Russell 2000 Value Index
Trust; Vanguard Scottsdale Funds (Vanguard
Russell 2000 Index Fund); Vanguard Scottsdale

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Funds (Vanguard Russell 2000 Value Index Fund);
Vanguard Valley Forge Funds (Vanguard
Balanced Index Fund); and Vanguard World Fund
(Vanguard Consumer Discretionary Index Fund)

I certify that each of the other signatories to this motion has agreed to the form and substance
and that I have their consent to submit this motion electronically.

 /s/ Philip D. Anker                                 /s/ Marissa Parker
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     HALE AND DORR LLP                               forthcoming
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 L.P.; AQR DELTA XN Master Account, L.P.;
 AQR Funds – AQR Diversified Arbitrage Fund          Counsel for Defendants identified as:
 (incorrectly sued as “AQR Funds (AQR                DFA Investment Dimensions Group Inc.
 Diversified Arbitrage Fund)”); AQR Funds—           U.S. Core Equity 1 Portfolio; DFA
 AQR Multi-Strategy Alternative Fund                 Investment Dimensions Group Inc. U.S.
 (incorrectly sued as “AQR Funds (AQR Multi-         Core Equity 2 Portfolio; DFA Investment
 Strategy Alternative Fund)”); CNH Master            Dimensions Group Inc. U.S. Micro Cap
 Account, L.P.; CNH Opportunistic Premium            Portfolio; DFA Investment Dimensions
 Offshore Fund, L.P.; Gardner Lewis Event            Group Inc. U.S. Small Cap Portfolio; DFA
 Driven Fund, L.P.; Gardner Lewis Merger             Investment Dimensions Group Inc. U.S.
 Arbitrage Fund, L.P.; Gardner Lewis Merger          Small Cap Value Portfolio; DFA
 Arbitrage Fund II, L.P.; HBK Master Fund L.P.;      Investment Dimensions Group Inc. U.S.
 HBK Quantitative Strategies Master Fund L.P.;       Targeted Value Portfolio, a/k/a Nationwide
 State Street Global Advisors Trust Company          U.S. Targeted Value Strategy; Dimensional
 (incorrectly sued as “State Street Global           Funds plc Global Targeted Value Fund;
 Advisors”); State Street Russell 1000® Value        Dimensional Funds plc U.S. Small
 Index Non-Lending Common Trust Fund                 Companies Fund, a/k/a Irish U.S. Small
 (incorrectly sued as “State Street Global           Cap Fund; DFA Australia Limited Global
 Advisors Russell 1000 Value Fund CTF”); State       Core Equity Trust; DFA Investment
 Street Russell 2000® Index Non-Lending Fund         Dimensions Group Inc. T.A. U.S. Core
 (incorrectly sued as “State Street Global           Equity 2 Portfolio 2; DFA Investment
 Advisors Russell 2000 Index Fund”); State           Dimensions Group Inc. Tax-Managed U.S.
 Street Russell 2000® Value Index Non-Lending        Small Cap Portfolio; DFA Investment
 Common Trust Fund (incorrectly sued as “State       Dimensions Group Inc. Tax-Managed U.S.

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    Street Global Advisors Russell 2000 Value Fund     Targeted Value Portfolio; DFA Investment
    CTF”); State Street Russell 3000® Index Non-       Dimensions Group Inc. U.S. Social Core
    Lending Fund (incorrectly sued as “State Street    Equity 2 Portfolio; DFA Investment
    Global Advisors Russell 3000 Index Fund”);         Dimensions Group Inc. U.S. Vector Equity
    State Street Russell 3000® Index Non-Lending       Portfolio; DFA Investment Trust Company
    Common Trust Fund (incorrectly sued as “State      Tax-Managed U.S. Marketwide Value
    Street Global Advisors Russell 3000 Index Fund     Series; DFA U.S. Core Equity Fund; DFA
    CTF”); State Street Russell All Cap® Index         U.S. Vector Equity Fund; Micro Cap
    Securities Lending Series Fund Class I             Subtrust; Small Cap Value Subtrust; Tax-
    (incorrectly sued as “State Street Global          Managed U.S. Equity Series; U.S. Small
    Advisors Russell 3000 Index Fund SL Ser A”);       Cap Subtrust; Nationwide Mutual Funds
    State Street Russell Small/Mid Cap® Index          (Nationwide Small Cap Index Fund);
    Securities Lending Series Fund Class I             Nationwide Mutual Funds (Nationwide
    (incorrectly sued as “State Street Global          U.S. Small Cap Value Fund); Nationwide
    Advisors Russell Small Cap Fund Complete S/L       Variable Insurance Trust (NVIT Multi-
    A”); State Street Russell Small Cap                Manager Small Cap Value Fund); and
    Completeness® Index Non-Lending Fund               Nationwide Variable Insurance Trust
    (incorrectly sued as “State Street Global          (NVIT Small Cap Index Fund)
    Advisors Russell Special Small Company
    Fund”); State Street Russell Small Cap
    Completeness® Index Non-Lending Common             /s/ Eric B. Fisher
    Trust Fund (incorrectly sued as “State Street      Eric B. Fisher
    Global Advisors Russell Special Small Company      Gregory C. Pruden
    Fund CTF”); State Street U.S. Extended Market      BINDER & SCHWARTZ LLP
    Index Securities Lending Fund (incorrectly sued    366 Madison Avenue, 6th Floor
    as “State Street Global Advisors U.S. Extended     New York, NY 10017
    Market Index Fund a/k/a U.S. Extended Market       Tel: (212) 510-7008
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    “JPMorgan Systematic Alpha Fund”; the              gpruden@binderschwartz.com
    purported defendant sued as “State Street Bank
    MAYA Account Holder”; and the purported            Counsel for Defendants Advanced Series
    defendant sued as “State Street Global Advisors    Trust Academic Strategies Asset Allocation
    Total ETF”1                                        Portfolio, Advanced Series Trust Small Cap
                                                       Value Portfolio, Defendant NJ-3, Prudential
                                                       Financial, Inc. (The Prudential Insurance
                                                       Company of America), Prudential
                                                       Retirement Insurance & Annuity Co.,
                                                       Quantitative Management Associates LLC,
                                                       and PGIM QMA Small-Cap Value Fund




1
        “JPMorgan Systematic Alpha Fund,” “State Street Bank MAYA Account Holder,” and
“State Street Global Advisors Total ETF,” each of which Plaintiffs allege is a defendant in this
consolidated multidistrict litigation, are not existing legal entities and therefore cannot be served
with process, and reserve all service-related and other defenses.

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Targeted Value Fund, John Hancock U.S.
Targeted Value Trust, Manulife Investment        /s/ Steven D. Jerome
Management (North America) Ltd., Manulife        Steven D. Jerome
Financial, BAM Advisor Services, SA US Small     Emily Gildar Wagner
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                                                 Foundation dba The Lincoln Institute of
                                                 Land Policy




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Companies Equity Partners, L.P. and Defendant
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                                                  Co.




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    Attorneys for Shareholder Defendants Dynamic
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    Offshore Fund, Ltd.




2
        Plaintiffs named as a defendant Merrill Lynch Investment, which is not an existing legal
entity, and Merrill Lynch, Pierce, Fenner & Smith Incorporated reserves all rights and defenses.

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Decommissioning Master Trust




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